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                                          CORRECTED

    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                         Filed: June 24, 2024

* * * * * * * * * * * * * *
GRACE DRUMMOND,            *                              No. 16-702V
                           *                              Special Master Sanders
         Petitioner,       *
                           *
v.                         *
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *

Mark T. Sadaka, Law Offices of Sadaka Associates, LLC, Englewood, NJ, for Petitioner;
Jennifer Shah, United States Department of Justice, Washington, DC, for Respondent.

                  DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

       On June 16, 2016, Grace Drummond (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program. 42 U.S.C. §§ 300aa-10 to -34
(2018)2 (the “Vaccine Act” or “Program”). Petitioner alleged that she received human
papillomavirus (“HPV” or “Gardasil”) vaccinations on July 22, 2013, and October 23, 2013, and
that these vaccines resulted in “postural orthostatic tachycardia syndrome (“POTS”), and
diminishing ovarian failure/insufficiency, which were caused-in-fact by the above-stated
vaccinations.” Pet. at 1, ECF No. 1. On March 31, 2023, I issued my decision denying entitlement
and dismissing the petition. (ECF No. 111).



1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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        On August 16, 2023, Petitioner filed a motion for attorneys’ fees and costs. Pet’r’s Mot.
for Final Attorneys’ Fees and Costs [hereinafter “Pet’r’s Mot. for AFC”], ECF No. 115. Petitioner
requests a total attorneys’ fees and costs in the amount of $75,339.91, representing $35,608.08 in
attorneys’ fees and $39,731.83 in attorneys’ costs. Pet’r’s Mot. for AFC at 4, Ex. A at 14-15. It
appears that Petitioner has personally incurred $400.00 filing this petition, which counsel states is
included in the requested costs and is not additional to the total amount requested. Pet’r’s Mot. for
AFC at 4. Respondent responded to the motion on August 30, 2023, stating that Respondent “is
satisfied that the statutory requirements for an award of attorneys’ fees and costs are met in this
case.” Resp’t’s Resp. at 2, ECF No. 116. Petitioner filed a reply on April 20, 2023, requesting the
fees and costs be awarded in full. Pet’r’s Reply at 1, ECF No. 117.

        This matter is now ripe for consideration.

   I.      Reasonable Attorneys’ Fees and Costs

        The Vaccine Act permits an award of “reasonable attorneys’ fees” and “other costs.” §
15(e)(1). If a petitioner succeeds on the merits of her or her claim, the award of attorneys' fees is
automatic. Id.; see Sebelius v. Cloer, 133 S. Ct. 1886, 1891 (2013). However, a petitioner need not
prevail on entitlement to receive a fee award as long as the petition was brought in “good faith”
and there was a “reasonable basis” for the claim to proceed. § 15(e)(1). Here, although the petition
was eventually dismissed, I am satisfied that good faith and reasonable basis have been met in the
instant case. Respondent has also indicated he is satisfied that good faith and reasonable basis have
been met. Accordingly, Petitioner is entitled to a final award of reasonable attorneys’ fees and
costs.

          The Federal Circuit has approved the lodestar approach to determine reasonable attorneys’
fees and costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343,
1348 (Fed. Cir. 2008). This is a two-step process. Id. First, a court determines an “initial estimate
. . . by ‘multiplying the number of hours reasonably expended on the litigation times a reasonable
hourly rate.’” Id. at 1347–48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the
court may make an upward or downward departure from the initial calculation of the fee award
based on specific findings. Id. at 1348.

        It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys’ fees and
costs.”). Applications for attorneys’ fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however,
should not include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 895. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. Petitioners bear the burden of providing adequate evidence to prove
that the requested hourly rate is reasonable. Id.
                                                      2
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        A.      Hourly Rate

        The decision in McCulloch provides a framework for consideration of appropriate ranges
for attorneys’ fees based upon the experience of the practicing attorney. McCulloch v. Sec’y of
Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules can be accessed online.3

        The undersigned has reviewed the hourly rates requested for petitioner’s counsel
throughout the pendency of their case (Mr. Mark L. Kruger, Mr. Andrew Krueger, and finally
current counsel, Mr. Mark Sadaka). The rates requested are consistent with what counsel have
previously been awarded for their Vaccine Program work and shall be awarded herein.

        B.      Reasonable Number of Hours

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521 (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)).

        Upon review, the undersigned finds the overall hours billed to be reasonable. Counsel has
provided sufficiently detailed descriptions for the tasks performed, and upon review, the
undersigned does not find any of the billing entries to be unreasonable. Accordingly, Petitioner is
entitled to final attorneys’ fees in the amount of $35,608.08.

        C.      Costs

        Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $39,731.83 in attorneys’ costs. This amount is comprised of work performed by
Petitioner’s medical experts, Dr. Felice Gersh, Dr. Orit Pinhas-Hamiel, and Dr. David Axelrod,
work done by Petitioner’s former attorneys at Krueger & Hernandez, acquisition of medical
records, postage, and the Court’s filing fee. Pet’r’s Mot. for AFC Ex. A at 14-15; Ex. B at 1, 4-5,
9-16. These costs have been supported with the necessary documentation and are reasonable.
Petitioner has provided adequate documentation of all these expenses, and they appear reasonable
in my experience.4 Accordingly, Petitioner is awarded the full amount of costs sought.




3
  The OSM Fee Schedules are available at: http://www.cofc.uscourts.gov/node/2914. The hourly rates
contained within the schedules are updated from the decision in McCulloch, 2015 WL 5634323.
4
  In awarding the full amount of costs sought, I am not specifically endorsing any particular hourly rate for
the work of Dr. Gersh, Dr. Hamiel, or Dr. Axelrod. Rather, in light of the work product submitted into the
record by these individuals, I find that the total amounts for their work, respectively, are reasonable.

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      II.    Conclusion

        In accordance with the Vaccine Act, 42 U.S.C. §15(e) (2018), the undersigned has
reviewed the billing records and costs in this case and finds that Petitioner’s request for fees and
costs is reasonable. Based on the above analysis, the undersigned finds that it is reasonable to
compensate Petitioner and her counsel as follows:

    Attorneys’ Fees Requested                                             $35,608.08
    (Reduction to Fees)                                                        -
    Total Attorneys’ Fees Awarded                                         $35,608.08

    Attorneys’ Costs Requested                                            $39,731.83
    (Reduction to Costs)                                                       -
    Total Attorneys’ Costs Awarded                                        $39,731.83

    Total Attorneys’ Fees and Costs                                       $75,339.91

       Accordingly, the undersigned awards a lump sum in the amount of $75,339.91,
representing reimbursement for Petitioner’s attorneys’ fees and costs, in the form of a check
payable to Petitioner and her counsel, Mr. Mark T. Sadaka.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.5

                IT IS SO ORDERED.

                                                         s/Herbrina D. Sanders
                                                         Herbrina D. Sanders
                                                         Special Master




5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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